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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

     In re
                                                Chapter 11
     Boy Scouts of America and Delaware
     BSA, LLC,1                                 Bankruptcy Case No. 20-10343
                        Debtors.                (LSS) (Jointly Administered)

     National Union Fire Insurance Co. of       Lead Case No. 22-cv-01237-RGA
     Pittsburgh, PA, et al.,
                                                Consolidated Case Nos. 22-cv-01238-
                        Appellants.             RGA; 22-cv-01239-RGA; 22-cv-
     v.                                         01240-RGA; 22-cv-01241-RGA; 22-
                                                cv-01242-RGA; 22-cv-01243-RGA;
     Boy Scouts of America and Delaware
                                                22-cv-01244-RGA;       22-cv-01245-
     BSA, LLC, et al.,
                                                RGA; 22-cv-01246-RGA; 22-cv-
                        Appellees.              01247-RGA; 22-cv-01249-RGA; 22-
                                                cv-01250-RGA; 22-cv-01251-RGA;
                                                22-cv-01252-RGA;       22-cv-01258-
                                                RGA; 22-cv-01263-RGA


                      BSA’S OPPOSITION TO THE CERTAIN
                INSURERS’ MOTION TO SUPPLEMENT THE RECORD

             Boy Scouts of America (the “BSA”) and Delaware BSA, LLC, the non-profit

 corporations that are appellees (together, the “Appellees” or “Debtors”)2 in the


 1
      The Debtors, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300); and
      Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut
      Hill Lane, Irving, Texas 75038.
 2
      References to the “BSA” herein shall be to Boy Scouts of America or to Boy
      Scouts of America and Delaware BSA, LLC jointly as the debtors and debtors in
      possession in the underlying chapter 11 cases (the “Chapter 11 Cases”), as the
      context requires.
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 above-captioned district court appeal, hereby file this opposition (the “Opposition”)

 to the Motion of the Certain Insurers to Supplement the Record [D.I. 123]3 (the

 “Motion”) filed by certain insurers (collectively, the “Certain Insurers”).

                          PRELIMINARY STATEMENT

        1.    The Certain Insurers’ Motion to supplement the appellate record with

 materials that are not part of the trial record is frivolous. One, as a matter of law,

 the Certain Insurers cannot challenge the bankruptcy court’s findings of fact with

 evidence that was not offered or considered by the bankruptcy court. See infra § A.1.

 Moreover, contrary to the Certain Insurers’ premise, the evidence at issue was

 available long before the confirmation hearing, and either was not pursued in

 discovery by the Certain Insurers, was pursued in discovery but not used at trial, or

 was pursued in discovery and used at trial but failed to persuade the bankruptcy

 court. Id. § A.2. Additionally, the material at issue is inadmissible hearsay.

 Id. § A.3.

        2.    Two, the evidence at issue does not support the Certain Insurers’

 challenge to the bankruptcy court’s findings of fact, which were based largely on

 unrefuted evidence, including the contemporaneous record and the testimony of




 3
     References to “D.I.” refer to filings in this appeal, references to “Bankr. D.I.”
     refer to filings in the bankruptcy court.
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 percipient witnesses. Indeed, most of the materials at issue are completely irrelevant

 to the Certain Insurers’ challenge to bankruptcy court’s findings of fact. Id. § B.

       3.     Three, allowing the Certain Insurers to introduce incomplete and

 untested evidence that was not offered at trial would prejudice BSA and the other

 appellees, who would have introduced evidence refuting the Certain Insurers’

 mischaracterizations of the materials at issue, and would have designated other

 evidence for the appellate record. Id. § C.

       4.     Four, admitting evidence that was not part of the trial record, after

 briefing has been completed, would be unfair to appellees and not helpful to the

 Court. The Certain Insurers should not be allowed to make arguments that were

 never in the record for the first time at oral argument. Id. § D.

                                   BACKGROUND

       5.     On July 29, 2022, the bankruptcy court issued an Opinion [D.I. 1-3]

 (the “Confirmation Opinion”) concerning confirmation of the Debtors’ Third

 Modified Fifth Amended Chapter 11 Plan of Reorganization. The Debtors then

 made technical modifications to conform to the Confirmation Opinion and proposed

 the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (With

 Technical Modifications) For Boy Scouts of America and Delaware BSA, LLC

 [Bankr. D.I. 10296] (the “Plan”). On September 8, 2022, the bankruptcy court

 confirmed that Plan, entering the Supplemental Findings of Fact and Conclusions of
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 Law and Order Confirming the Third Modified Fifth Amended Chapter 11 Plan of

 Reorganization (with Technical Modifications) for Boy Scouts of America and

 Delaware BSA, LLC [D.I. 1-1] (the “Confirmation Order”).

        6.    On September 22, 2022, the Certain Insurers, claimants represented by

 Lujan & Wolff LLP, and claimants represented by Dumas & Vaughn LLC filed

 notices of appeal.4 On September 27, 2022 the Debtors, together with the Certain

 Insurers and other parties in interest, filed a joint motion for consolidation and to

 approve the stipulation regarding appeals [D.I. 3] (the “Stipulation”) to establish

 procedures for the swift administration of the appeals. The Stipulation required

 appellants to file their designation of the record within ten days following the last

 date on which an appellant filed its notice of appeal. See D.I. 3, Ex. A. The Debtors

 and additional appellees agreed to file counter-designations of the record on an

 expedited timeline within three days of the filing of the appellants’ designation of

 the record. Id. On October 17, 2022, this Court entered an order granting the motion

 to approve the Stipulation (the “Procedures Order”). See D.I. 22.

        7.    On October 3, 2022, pursuant to the Stipulation, the Certain Insurers

 filed their briefs and record designations (the “Appellants’ Designations”). See D.I.

 5. On October 6, 2022, the Debtors designated additional items to be included in the



 4
     The appeals were procedurally consolidated on October 17, 2022. See D.I. 22.
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 record on appeal (the “Appellees’ Designations”). See D.I. 15. On December 7,

 2022, the Debtors filed the Debtors-Appellees’ Consolidated Answering Brief (the

 “Debtors’ Brief”) based on the appellate record designated by the parties under the

 Stipulation and Procedures Order. D.I. 66.

       8.    On December 29, 2022, 112 days after the bankruptcy court entered the

 Confirmation Order, certain parties filed motions before the bankruptcy court

 seeking reimbursement of certain professional fees expended by certain advisors to

 Plan supporters representing, among others, approximately 75% of survivors based

 on their substantial contribution to the formulation of a Plan that was

 overwhelmingly accepted by a majority of creditors. See Bankr. D.I. 10808 (the

 “Coalition Fee Request”); Bankr. D.I. 10809 (the “Pfau/Zalkin Fee Request”);

 Bankr. D.I. 10815 (the “RCAHC Fee Request” and, together with the Coalition Fee

 Request and the Pfau/Zalkin Fee Request, the “Fee Requests”).

       9.    The Confirmation Order explicitly contemplated the future filing of

 such Fee Requests, postponed the review and authorization of such requests to a

 separate hearing upon separate motion, and capped those reimbursements to the

 extent allowed in a subsequent order. See Plan Art. V.T; Confirmation Order ¶ III.5.

 The Certain Insurers were given ample notice of the proposed timeline for these Fee

 Requests in an amended version of the Plan filed on February 15, 2022, well in

 advance of the confirmation hearing. See Bankr. D.I. 8813, Art. V.T. Neither the
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 Certain Insurers, nor any other party, objected to completing the confirmation trial

 prior to the filing and consideration of the Fee Requests, nor did any party indicate

 that the Fee Requests were necessary evidence for the record at trial or on appeal.

       10.    On January 13, 2022, less than a month before oral argument is set to

 begin and well after briefing has concluded, the Certain Insurers filed this Motion to

 reopen the record on appeal to introduce more than three thousand pages of hearsay

 material that is not part of the trial record to challenge the bankruptcy court’s

 findings of fact rejecting their baseless allegations that the Debtors did not propose

 the Plan in good faith. See Motion ¶ 7.

                                     ARGUMENT

       A.     The Certain Insurers May Not Include In The Appellate Record
              Material That Is Not Part Of The Trial Record

       11.    The Certain Insurers argue they should be permitted to supplement the

 record to re-litigate good faith because the materials at issue were not available prior

 to the time for designating the record. Regardless of whether the materials were

 previously available, they are not part of the trial record and, therefore, cannot be

 included in the appellate record. Moreover, evidence of the matters that the Certain

 Insurers belatedly seek to introduce was available prior to the confirmation hearing,

 and either was not pursued in discovery by the Certain Insurers, was pursued in

 discovery but not used at trial, or was pursued in discovery and used at trial but failed


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 to persuade the bankruptcy court. Additionally, the materials are hearsay and,

 therefore, would not have been admissible at trial.

              1.    Evidence Outside Of The Trial Record Cannot Be
                    Considered For The Merits Of The Appeal

       12.    None of the materials that are subject to the Certain Insurers’ Motion

 were offered or introduced at trial. It is beyond peradventure that a party cannot

 supplement an appellate record with material that is not part of the trial record. In

 re W.R. Grace & Co., No. 08-863, 2009 WL 636718, at *1–2 (D. Del. Mar. 11, 2009)

 (“[T]he Third Circuit has continued to refuse efforts to supplement an appellate

 record with material never presented at trial.”); Fassett v. Delta Kappa Epsilon, 807

 F.2d 1150, 1165 (3d Cir. 1986) (holding that “[t]he only proper function of a court

 of appeals is to review the decision below on the basis of the record that was before

 the [lower] court.”); Falco v. Zimmer, 767 F. App’x 288, 297 (3d Cir. 2019) (“We

 cannot consider material on appeal that is outside of the [] court record.” (citations

 omitted)); Drexel v. Union Prescription Ctrs., Inc., 582 F.2d 781, 784 n.4 (3d Cir.

 1978) (“It is hornbook law that [the appellate] court generally cannot consider

 evidence which was not before the court below.”); Landy v. Fed. Deposit Ins. Corp.,

 486 F.2d 139, 150 (3d Cir. 1973) (“Normally, the court [] will consider only the

 record and facts considered in the [lower] court.”); In re ATIF, Inc., No. 2:21-cv-

 050, 2022 WL 16552818, at *1 (M.D. Fla. Oct. 31, 2022) (“Rule 8009(e) should not


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 be used to present new evidence to the appellate court that the original court never

 considered.” (internal quotations omitted)); In re Salas, No. 18-260, 2020 WL

 32567, at *3 (D.D.C. Jan. 2, 2020) (“Rule 8009(e) is not meant to allow a party to

 supplement the record on appeal with new evidence that was not before the

 bankruptcy court.”); Robinson v. Sanctuary Record Grps., Ltd., 589 F. Supp. 2d 273,

 275 (S.D.N.Y. 2008) (finding that documents not part of the official record when the

 court made a ruling under review cannot be part of the record on the appeal); In re

 Prudential Lines, Inc., No. 93-CIV-1481, 1994 WL 142017, at *2 (S.D.N.Y. Apr.

 20, 1994) (“[The Court may] not consider on this appeal materials not before the

 bankruptcy judge at the time the challenged decisions were made.”) (collecting

 cases).

        13.   In denying a motion to supplement the appellate record, this Court has

 identified the “exceptional circumstances” that are required to supplement a record

 on appeal, and they do not include challenging a disputed issue.5 In re WL Homes

 LLC, 476 B.R. 830, 837 n.1 (D. Del. 2012) (exceptional circumstances include

 whether the materials “would establish beyond any doubt the proper resolution of

 the pending issue,” whether remand would be contrary to the interest of justice and


 5
     For instance, courts may supplement a record where the material impacts whether
     the appeal is still valid. See, e.g., Landy, 486 F.2d at 151–52 (taking judicial
     notice of a party’s complaint filed subsequent to an appeal to the extent it mooted
     certain issues subject to appeal).
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 the efficient use of the judicial resources, and whether the appeal is a habeas corpus

 action).

       14.    The Certain Insurers do not cite or otherwise address the established

 blackletter law; nor do they cite any authority allowing a party to supplement an

 appellate record with materials that are not part of the trial record to challenge a trial

 court’s findings of fact. The Certain Insurers cite Patel v. Hughes, but that court, on

 its own initiative, took judicial notice of pleadings that established the finality of the

 bankruptcy case because it was “unclear if [the] matters [were] made a part of the

 record” due to the parties’ failure to describe or index any documents. 2022 WL

 3010526, at *1 n.2, n.4 (M.D. Tenn. July 28, 2022). The court did not include

 material outside the motion record, much less to challenge a court’s findings of fact.

       15.    Otherwise, the Certain Insurers cite only In re Indian Palms Associates,

 but this case just confirms that the Certain Insurers cannot supplement the appellate

 record with material that was not part of the trial record in order to challenge the

 bankruptcy court’s factual findings. 61 F.3d 197, 203–05 (3d Cir. 1995) (finding

 that the district court did not abuse its discretion in refusing to strike material timely

 included in the appellate record “for the sole purpose of determining whether

 [appellant] had waived an argument it sought to make in its motion for

 reconsideration”). The court in In re Indian Palms explicitly explained that material

 outside the trial record could not be admitted on the appeal to the extent it related to
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 the merits of the case, as the Certain Insurers seek to do here: “It is understood, for

 example, that the facts relating to the merits of the case will be decided on the basis

 of the evidence admitted into the trial record.” Id. at 205 (emphasis in original)

 (citation omitted).

       16.    The Certain Insurers selectively quote “that the filing of documents in

 the case record provides competent evidence of certain facts—that…admissions

 were made” (Motion ¶ 16), but omit that the court explicitly stated that new evidence

 could not be added that related to the merits of the dispute, affirming the district

 court’s decision “because the documents are not being used to determine disputed

 facts relating to the merits of the case and their use thus does not impose on a party’s

 ability to meet the evidence against it.” Indian Palms, 61 F.3d at 205.

       17.    The Certain Insurers’ request that this Court take judicial notice of

 every statement made in more than three thousand pages of the Fee Requests, and

 also future submissions not even in existence, is deficient for the same reason. See

 Motion ¶ 7. Regardless of how authenticated, the Certain Insurers cannot include in

 the appellate record evidence that was not part of the trial record “relating to the

 merits to the case,” such as a challenge to the bankruptcy court’s findings of fact. In

 short, judicial notice is a mechanism for timely introducing material in connection

 with the trial or other proceeding, not a mechanism for including in the appellate

 record materials that are outside the trial record.
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       18.    Additionally, the Fee Requests are not eligible for judicial notice.

 “Judicially noticed facts must either be generally known within the jurisdiction of

 the trial court, or be capable of accurate and ready determination by resort to sources

 whose accuracy cannot reasonably be questioned.” In re W.R. Grace & Co., 2009

 WL 636718, at *1. The accuracy of each statement in the Fee Requests, particularly

 as incorrectly described and argued by the Certain Insurers, cannot be determined

 by resorting to sources whose accuracy cannot reasonably be questioned. Indeed, if

 these matters were part of the trial record, they would have been subject to

 questioning and other evidence to ensure that they could not be misused to challenge

 the competent and irrefutable evidence of the trial witnesses and the

 contemporaneous record.

              2.     The Evidence At Issue Was Available Prior To The
                     Confirmation Trial

       19.    Although the availability of the evidence is irrelevant, because nothing

 outside the trial record that relates to the merits of the appeal can be considered, the

 Certain Insurers’ argument that the information at issue was not available before the

 Fee Requests were filed is incorrect. See Motion ¶ 11. Although some of the

 materials included in the Fee Requests themselves were not available prior to the

 confirmation trial, the events covered in the Fee Requests took place long before the

 confirmation trial and were available, and indeed known, to the Certain Insurers.


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       20.    The bankruptcy court afforded the Certain Insurers broad discovery,

 even allowing them to invade mediation privilege to pursue evidence of bad faith

 (see D.I. 1-3 at 213), and the Certain Insurers took substantial discovery about the

 matters raised in this Motion, including depositions of the very people that submitted

 declarations in the Fee Requests.        See Bankr. D.I 8858 (Certain Insurers’

 confirmation objection citing Kenneth Rothweiler Jan. 30, 2022 Deposition

 Transcript, Adam Slater Feb. 2, 2022 Deposition Transcript, Anne Andrews Dec.

 21, 2021 Deposition Transcript, and James Patton Nov. 30, 2021 Deposition

 Transcript). The Certain Insurers do not offer a single alleged fact that they seek to

 introduce that was not available or known to them prior to the confirmation trial.

    a. The Certain Insurers argue that the Fee Requests evidence the “claimant-

       driven process” in drafting the “RSA,” the “post-1976 Chartered Organization

       proposal,” and the “Century Term Sheet.” Motion ¶ 12. Those matters each

       occurred many months before the confirmation trial, and the Certain Insurers

       had abundant opportunities to take discovery regarding the drafting process,

       as they did with the TDP.

    b. The Certain Insurers argue incorrectly that the survivors sought to “inflate”

       claim values and “bind insurers” to awards, but those alleged actions occurred

       months before the confirmation trial, and the Certain Insurers were aware of

       the matters they cite in the Fee Requests and had ample opportunity and did
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       take discovery as to them, including from those that negotiated and calculated

       the claim values. See Bankr. D.I. 8858 (citing depositions of Mr. Azer and

       Dr. Bates).

    c. The Certain Insurers argue that the BSA “acceded to further requests to

       prejudice non-settling insurers” including by agreeing to an independent

       review option (“IRO”). The IRO was finalized by February 2022, well before

       the confirmation hearing, and the Certain Insurers were aware that certain of

       the survivor representatives proposed the IRO. See Bankr. D.I. 9563 247:13-

       19 (the Certain Insurers cross examining Jason Amala, confirming that the

       Pfau/Zalkin group drafted the IRO). Indeed, the bankruptcy court found that

       the IRO’s purpose was “not hidden” and the “TCC and the Pfau/Zalkin

       Claimants persuaded others that the Maximum Claim Value artificially

       capped claims and arguably let excess carriers off the hook for the very claim

       values that would trigger their policies.” D.I. 1-3 at Fn. 666. And while the

       IRO was first proposed by certain of the survivor representatives, the Debtors

       were heavily involved in the negotiations, modifications and current form of

       the option.

    d. The Certain Insurers argue that BSA “acceded to [the survivors’] demand for

       a ‘so-called Document Appendix’” allowing the claimants’ discovery before

       submitting claims to the Settlement Trust to help complete the required forms.
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        Motion ¶ 15.    The Document Appendix6 was adopted and disclosed in

        February 2022, well before the confirmation hearing and the Certain Insurers

        were aware that survivors had contributed to terms of the agreement. See

        Bankr. D.I. 9309 ¶¶ 63-64 (Mr. Azer describing in his declaration that the

        Document Appendix was the result of arm’s-length negotiations with the

        Coalition, among other parties).

        21.   The Certain Insurers’ failure to pursue or introduce available evidence

 does not provide grounds for introducing new evidence on appeal. See, e.g., Burton

 v. Teleflex Inc., 707 F.3d 417, 436 (3d Cir. 2013) (denying motion to supplement

 record on appeal where movant “could have produced this information in the first

 instance to the [lower court]”); GLeS, Inc. v. MK Real Estate Developer & Trade

 Co., 511 F. App’x 189, 193 (3d Cir. 2013) (“[W]e conclude that there is no reason

 to employ Rule 10(e) or any equitable power we may have to include the evidence

 identified in the [appellants’] motions [to supplement the record], because that

 evidence was either previously available or not material to their claims.”); Zell v.

 Jacoby-Bender, Inc., 542 F.2d 34, 38 (7th Cir. 1976) (refusing to take judicial notice

 of a party’s retirement date because that fact could have been included in the record

 for the case); Morgan Drexen, Inc. v. Consumer Fin. Protection Bureau, 785 F.3d



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     As defined in the Plan.
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 684, 690 n.2 (D.C. Cir. 2015) (“[A]ppellants’ request that the court take judicial

 notice of these documents comes too late; the plaintiff was on notice that the

 evidence was relevant to her case and could timely have submitted it to the [lower]

 court.”).

              3.    The Fee Requests Are Hearsay

       22.    The Motion papers are also inadmissible hearsay. See Fed. R. Evid.

 802; see also In re Indian Palms, 61 F.3d at 205 (“a document cannot be put to a

 hearsay use for most purposes, and for this reason, a previously filed court document

 will generally not be competent evidence of the truth of the matters asserted

 therein”). Had the Certain Insurers wanted to introduce the material reflected in the

 Fee Requests, they would have needed to introduce it through a witness, and that

 witness would have then clarified that the Certain Insurers’ characterization of the

 material is incorrect and disproven by contemporaneous records, as addressed

 below.

       B.     The Materials That The Certain Insurers Belatedly Seek To Use To
              Challenge The Bankruptcy Court’s Findings Of Fact Do Not
              Support The Challenge

       23.    The Certain Insurers’ arguments that the untested evidence refutes the

 bankruptcy court’s findings of fact also is incorrect. Nothing in the Fee Requests

 refute any of the findings, much less proves that the bankruptcy court’s factual

 findings are “completely devoid of a credible evidentiary basis or bear[] no rational

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 relationship to the supporting data.” In re Fruehauf Trailer Corp., 444 F.3d 203, 210

 (3d Cir. 2006) (quoting Citicorp Venture Cap., Ltd. v. Comm. of Creditors, 323 F.3d

 228, 232 (3d Cir. 2003). Indeed, the Certain Insurers simply repeat the conclusory

 and incorrect assertion that the “Fee Requests support the Certain Insurers’

 assertions,” then include citations and parenthetical sentence fragments that do not

 do so.

     a. The Certain Insurers argued at trial that the survivors dictated the claims

          process by drafting the trust distribution procedures (“TDP”) and the Claims

          Matrix,7 and the bankruptcy court rejected that contention based on the

          unrefuted, contemporaneous record, including early drafts of the TDP, the

          Claim Matrix, and the testimony of the percipient witnesses that drafted those

          documents. See D.I. 1-3 at 213-17 (finding that “[t]he record developed at

          trial shows that Mr. Azer, Debtors’ insurance counsel, penned the initial draft

          of the TDP,” and holding that “[b]ased on this record, I cannot find that

          Debtors colluded with the Coalition or other plaintiff representatives to

          intentionally deprive insurers of their rights. I cannot find that Debtors

          abdicated their responsibility to negotiate a plan or proceeded in bad

          faith…The Certain Insurers’ arguments that Debtors colluded with the



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     As defined in the Plan.
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       Coalition, rather than negotiated with the Coalition, is wholly unsupported by

       the record.”).

           In a sleight of hand, the Certain Insurers try to challenge the

             uncontroverted evidence that BSA drafted the TDP and the Claims

             Matrix by relying on the statements about the Coalition’s work on the

             RSA, a document that is not even part of the confirmed Plan. Moreover,

             what the Coalition highlights is their work in identifying and addressing

             a “Fuller-Austin issue” that could have created new coverage defenses

             based on the bankruptcy, inadvertently destroying valuable estate

             insurance assets and providing a windfall to excess insurers by

             releasing them from their contractual obligations. See Coalition Fee

             Request ¶ 132.


           The Coalition’s role in negotiating a “post-1976 Chartered

             Organization proposal” also has nothing to do with the bankruptcy

             court’s finding that “[t]he record developed at trial shows that Mr. Azer,

             Debtors’ insurance counsel, penned the initial draft of the

             TDP….Thereafter Mr. Azer never gave up the pen. Mr. Azer testified

             that Debtors had an interest in the TDP because they needed a

             confirmable plan and that they spent significant time negotiating


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             protections for the insurers’ contractual rights.” D.I. 1-3 at 213-14.

             The fact that certain parts of the Plan were developed over time based

             on negotiations with the Plan supporters, including survivor

             representatives, is already in the trial record, was considered by the trial

             court, and is included in the record on appeal. E.g., Bankr. D.I. 8772

             (the Eleventh Mediator’s Report summarizing the BSA’s negotiations

             and settlement with the TCC, the Future Claimants’ Representative, the

             Coalition, the Ad Hoc Committee of Local Councils, and the

             Pfau/Zalkin claimants).     Likewise, the fact that “members of the

             Coalition represented the interests of the vast bulk of abuse claims,

             sufficient to deliver affirmative vote” (i.e., the attorneys and survivors

             represented their interests in the case) does nothing to undermine the

             bankruptcy court’s findings.

           The fact that the Coalition requested certain findings that the Certain

             Insurers consider prejudicial has nothing to do with the court’s actual

             findings in the Confirmation Order. This is particularly true because

             the bankruptcy court did not approve those findings and they were not

             proposed in the Plan on appeal.




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    b. The Certain Insurers’ claim that the Fee Requests support their argument that

       the Plan “inflate[s]” claims and “bind[s] insurers to gain an advantage in

       coverage litigation” is wrong. Motion ¶ 13.

           The statement that “as a result of the Coalition’s hard work, survivors

             will receive enhanced compensation” does not suggest that claims were

             inflated. Motion ¶ 13. Rather, the language speaks to efforts to

             preserve valuable estate assets, for example by identifying and

             addressing a potential Fuller-Austin problem that could have resulted

             in inadvertent loss of a valuable insurance assets. See Coalition Fee

             Request ¶ 132. Preserving estate assets does not “inflate claims.”

           Dr. Bates’s unrebutted opinion was that the TDP will result in awards

             at lower average values, not inflated values. D.I. 1-3 at 63-65. The

             bankruptcy court also found that “[t]he Certain Insurers could have

             chosen to put on their expert to challenge the Base Matrix Value or

             otherwise clear up any confusion, but they did not. This appears to be

             all optics.” D.I. 1-3 at 222. The Fee Requests include no evidence that

             claim values are inflated.

           The fact that BSA agreed to support the Fee Requests, to the extent

             allowed in a subsequent order, is irrelevant to claim values under the


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             TDP or the Plan provisions providing that the insurers are not bound to

             pay awards. See D.I. 1-3 at 188 (bankruptcy court holding that insurers

             are not bound by awards under the Plan or TDP because it is up to “an

             insurance coverage court” to determine if any awards have relevance).

           The Coalition’s statement that “‘insurers would be hard pressed’ to

             make arguments in coverage litigation” does not mean that Certain

             Insurers are bound by awards. The Coalition Fee Request speaks to

             issues of res judicata and collateral estoppel.      See Coalition Fee

             Request ¶ 131. The bankruptcy court made no ruling on the application

             of res judicata or collateral estoppel to non-settling insurers, leaving

             that issue “for a future court to decide in the context of specific

             litigation.” D.I. 1-3 at 187. Any speculation by the Coalition about

             what a future court may do is irrelevant.

    c. The Certain Insurers’ argument that the Fee Requests contradict the BSA’s

       argument “that the IRO is intended merely to reflect ‘prepetition settlement

       practices’” is incorrect. Mot. ¶ 14. The Certain Insurers cite the Coalition’s

       statements that (i) their contribution to the estate included “conceiving,

       negotiating, and designing the [IRO],” (ii) “[t]he IRO created a mechanism to

       access excess insurance coverage that was otherwise at risk of being lost,” and


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       (iii) that Pfau/Zalkin “‘proposed an independent review process’ in

       ‘consultation with counsel for Coalition and the FCR.’” Id. Those statements

       do not speak to, much less contradict, BSA’s statement that the IRO reflects

       “prepetition settlement practices.” Id. The evidence is undisputed that the

       IRO is consistent with prepetition practices in that the BSA settled claims for

       amounts substantially in excess of $2.7 million, the cap under the TDP for

       survivors that do not exercise the IRO. See A.005957 (Mr. Griggs stating that

       “[t]he BSA did settle certain claims for more than $2.7 million”); A.012806

       (some cases settled for more than $8,000,000 on average). The record is also

       irrefutable that, absent the IRO, excess insurers could be released from their

       prepetition obligations, providing an improper windfall to them. See D.I. 66

       at 113; see also Bankr. D.I. 9454 at 98:14-99:1 (Bates) (“[The IRO]

       [b]asically remov[es]…a windfall that the excess insurers had obtained in the

       original draft of the [TDP].”).

             [I]t was not hidden that the Independent Review Option was
             added to permit those claimants with high value claims to recover
             more than the Maximum Claim Value in the Claims Matrix. The
             TCC and the Pfau/Zalkin Claimants persuaded others that the
             Maximum Claim Value artificially capped claims and arguably
             let excess carriers off the hook for the very claim values that
             would trigger their policies. The addition of the Independent
             Review Option, however, does not increase an insurers' quantum
             of liability. A policy will attach, or it will not, based on the size
             of the claim and the terms of any and all relevant policies.

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       D.I. 1-3 at 288 n.666. The Fee Requests offer nothing new in this
       regard.

    d. The Certain Insurers argue that BSA acceded to the survivors’ requests for a

       “Document Appendix,” which provides for discovery before a claim is

       submitted. Motion ¶ 15. The Document Appendix, however, provides a

       framework that is generally consistent with the BSA’s prepetition practice for

       resolving Abuse Claims. See A.005954-005957 (Mr. Griggs stating that the

       Document Appendix provides the Settlement Trustee with the same basic

       information the BSA would have had when investigating Abuse Claims and

       provides claimants with the same basic information they would typically

       receive in discovery). Moreover, the Document Appendix “benefits survivors

       and insurers alike” by providing the “benefit of helping to substantiate claims

       and eliminate fraudulent or overstated claims, which inures to the benefit of

       all parties and bolsters the integrity of the TDP process.” Pfau/Zalkin Fee

       Request ¶ 30. Regardless of Pfau/Zalkin’s motives, nothing in the Fee

       Requests changes the terms and effects of the Document Appendix which the

       bankruptcy court considered and approved. See D.I. 1-1 § III.21.

       C.    Certain Insurers’ Request To Designate The Record Is Untimely,
             And Expanding Their Record Would Prejudice Appellees

       24.   The Stipulation and Procedures Order provided for a mutually agreed-

 to timeline upon which BSA and other appellees relied. Moreover, the Fee Requests

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 were specifically scheduled to be filed after the confirmation trial. See Plan Art.

 V.T; Confirmation Order ¶ III.5. The Certain Insurers had ample notice that such

 Fee Requests would be filed after confirmation, and raised no objection to such

 timing, so they cannot claim to be prejudiced when the Fee Requests were submitted

 consistent with the procedures contemplated in the Plan and Confirmation Order.

       25.    The BSA would be prejudiced if the Certain Insurers were allowed to

 amend the record at the eleventh hour outside the agreed-upon procedures. The BSA

 has identified hundreds of time entries from at least February 2021 to July 2021 that

 they would have included in the Appellees’ Designations had they known about the

 Certain Insurers’ intent to use the Plan supporters’ time entries as evidence. These

 extensive time entries demonstrate that, while certain Plan supporters made a

 “substantial contribution” to the BSA’s restructuring efforts, those contributions

 were dwarfed by the BSA’s own and earlier efforts, which involved spearheading

 the drafting and negotiating of the Plan—while never ceding control to any other

 party, exactly as the bankruptcy court correctly found. See D.I. 1-3 at 213-35

 (bankruptcy court summarizing the record to demonstrate that the BSA held the pen

 in drafting the TDP and overruling the Certain Insurers’ other objections).




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        D.     Allowing New Arguments And New Evidence After Briefing Has
               Been Completed Would Be Inappropriate And Unfair

        26.    Supplementing the appellate record at this stage also offers no value

 because briefing is complete. Allowing the Certain Insurers to present new evidence

 and new arguments for the first time at oral argument would prejudice the BSA and

 the other appellees.

                                   CONCLUSION

        For the foregoing reasons, the Debtors request that this Court deny the Certain

 Insurers’ Motion to supplement the record on appeal with materials that were not

 part of the trial record.




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                       CERTIFICATE OF COMPLIANCE

       Pursuant to Fed. R. Bankr. P. 8015(h), the undersigned hereby certifies that

 this response complies with the type-volume limitation of Fed. R. Bankr. P.

 8013(f)(3)(A). Exclusive of the exempted portions specified in Fed. R. Bankr. P.

 8015(g), the response contains 5,200 words. The response has been prepared using

 Microsoft Word. The undersigned has relied upon the word count feature of this

 word processing software in preparing this certificate.



 Dated: January 27, 2023                      /s/ Tori L. Remington
                                              Tori L. Remington
